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        League, NFL Enterprises LLC, and the
    9   Individual NFL Clubs
   10   [Additional Counsel Listed on Signature
        Pages]
   11
   12                     UNITED STATES DISTRICT COURT
   13                    CENTRAL DISTRICT OF CALIFORNIA
   14                                             ) Case No. 2:15-ml-02668−PSG (JEMx)
         IN RE: NATIONAL FOOTBALL
   15                                             )
         LEAGUE’S “SUNDAY TICKET”                 ) DISCOVERY MATTER
   16    ANTITRUST LITIGATION                     )
         ______________________________           ) NOTICE OF MOTION AND NFL
   17                                             ) DEFENDANTS’ MOTION TO
                                                  ) COMPEL COMMERCIAL
   18    THIS DOCUMENT RELATES TO:                ) PLAINTIFFS TO RESPOND TO
                                                  ) INTERROGATORY NO. 10
         ALL ACTIONS                              )
   19                                             ) Magistrate Judge: Hon. John E.
   20                                             )
                                                  ) McDermott
   21                                             ) Date/Time: 5/17/2022, 10:00 a.m.

   22                                               Discovery Cutoff Date: 8/5/2022
   23                                               Pretrial-Conference Date: 2/9/2024
                                                    Trial Date: 2/22/2024
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2           PLEASE TAKE NOTICE that on May 17, 2022 at 10:00 a.m., or as soon
 3   thereafter as this matter may be heard, Defendants National Football League, Inc., NFL
 4   Enterprises LLC, and the 32 NFL member Clubs (collectively, the “NFL Defendants”)
 5   will and hereby respectfully move for an Order to Compel Responses from Plaintiffs
 6   Ninth Inning Inc., dba The Mucky Duck, and 1465 Third Avenue Restaurant Corp., dba
 7   Gael Pub (collectively, “Commercial Plaintiffs”) to Interrogatory No. 10, which was
 8   served on Commercial Plaintiffs as part of the NFL Defendants’ First Set of
 9   Interrogatories on November 29, 2021.
10           This Motion will be heard before the Honorable John E. McDermott of the United
11   States District Court for the Central District of California, in the Roybal Federal
12   Building and United States Courthouse, 255 E. Temple Street, Los Angeles, California
13   90012, Courtroom 640, 6th floor.
14           This Motion is made following conference of counsel on March 22, 2022
15   pursuant to Local Rule 37-1, and is based upon this Notice and Motion, the concurrently
16   filed Joint Stipulation, the declaration of Justin Mungai, the exhibits attached
17   thereto, such evidence and argument as may be presented at or before the hearing on
18   this Motion, and such other matters as the Court deems necessary and proper.
19
20   DATED: April 26, 2022                 By: /s/ Beth A. Wilkinson
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                                               Brian L. Stekloff (admitted pro hac vice)
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       Case No. 2:15-ml-02668-PSG (JEMx)

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15                                         League, NFL Enterprises LLC, and the
                                           Individual NFL Clubs
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